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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                        Plaintiff,

          v.                                         No. 22 Civ. 10016 (LAK)

 DONALD J. TRUMP,

                        Defendant.


                       NOTICE OF PLAINTIFF E. JEAN CARROLL’S
                          MOTION TO EXCUSE JUROR NO. 77

         PLEASE TAKE NOTICE that Plaintiff E. Jean Carroll hereby moves this Court, before

the Honorable Lewis A. Kaplan, United States District Judge for the Southern District of New

York, located at 500 Pearl Street, New York, New York 10007, on a date to be set by the Court,

for an order dismissing Juror No. 77 at this time.

         This motion is supported by the annexed memorandum of law and the declaration of

Roberta A. Kaplan and accompanying exhibit.


Dated:         New York, New York                        Respectfully submitted,
               April 30, 2023


                                                         ______________________
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                                                         hac vice)
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